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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MICHAEL LABRICE,                              :
      Plaintiff,                               :
                                               :
                                               :            CIVIL ACTION
                 v.                            :            19-4377
                                               :
 CITY OF PHILADELPHIA, et.                     :
 al.,                                          :
       Defendants.                             :

                                           ORDER

        AND NOW, this 16th day of January, 2024, it is ORDERED that Defendants’ Motion

for Summary Judgment (ECF No. 52) is GRANTED IN PART and DENIED IN PART.

Defendants’ motion is GRANTED as to Plaintiff’s ADA reasonable accommodations and

hostile work environment claims, and as to his ADA claims against the two individual

defendants. Defendants’ motion is DENIED as to Plaintiff’s adverse-action and retaliation ADA

claims, his FMLA interference, discrimination and retaliation claims, his PHRA claims, and his

requests for equitable relief.

        It is further ORDERED that Labrice’s Motion to Strike (ECF No. 57) is DENIED.



                                            __s/ANITA B. BRODY, J.______
                                            ANITA B. BRODY, J.



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